Case 5:10-cv-00809-VAP-OP Document 137 Filed 02/23/16 Page 1 of 3 Page ID #:2053




    1 SHEPPARD, MULLIN, RICHTER & HAMPTON LLP
        A Limited Liability Partnership
    2   Including Professional Corporations
      RONALD J. HOLLAND, Cal. Bar No. 148687
    3 rholland@sheppardmullin.com
      PAUL S. COWIE, Cal. Bar No. 250131
    4 pcowie@sheppardmullin.com
      Four Embarcadero Center, 17th Floor
    5 San Francisco, California 94111-4109
      Telephone: 415-434-9100
    6 Facsimile: 415-434-3947
   7 Attorneys for Swift Transportation Co. of
     Arizona, LLC
   8
     MARLIN & SALTZMAN, LLP
   9 Stanley D. Saltzman, Cal. Bar No. 90058
     ssaltzman@marlinsaltzman.com
  10 Marcus J. Bradley, Cal. Bar No. 174156
     mbradley@marlinsaltzman.com
  11 Christina A. Humphrey, Cal. Bar No. 226326
     chumphrey@marlinsaltzman.com
  12 29229 Canwood Street, Suite 208
     Agoura Hills, California 91301
  13 Telephone: 818-991-8080
     Facsimile: 818-991-8081
  14
     Attorneys for Plaintiffs
  15
                            UNITED STATES DISTRICT COURT
  16
                          CENTRAL DISTRICT OF CALIFORNIA
  17
  18
     JOHN BURNELL, JACK POLLOCK,              Case No. 5:10-CV-00809-VAP (OPx)
  19 and all others similarly situated,
                                              The Hon. Virginia A. Phillips
  20                      Plaintiff,          STIPULATION TO DISMISS
  21           v.                             PLAINTIFFS’ THIRD AND FIFTH
                                              CAUSES OF ACTION
  22 SWIFT TRANSPORTATION CO. OF
     ARIZONA LLC,                             Complaint Filed: March 22, 2010
  23                                          Trial Date: None Set
                  Defendant.
  24
  25
  26
  27
  28
       SMRH:475349240.1                         STIPULATION TO DISMISS PLAINTIFFS’ THIRD
                                                            AND FIFTH CAUSES OF ACTION
Case 5:10-cv-00809-VAP-OP Document 137 Filed 02/23/16 Page 2 of 3 Page ID #:2054




    1                      Pursuant to Federal Rule of Civil Procedure (“FRCP”) 41(a), Plaintiffs
    2 John Burnell and Gilbert Saucillo (“Plaintiffs”) and Defendant Swift Transportation
    3 Co. of Arizona, LLC (erroneously named Swift Transportation Co. Inc.),
    4 (“Defendant”), (collectively the “Parties”), by and through their counsel of record,
    5 stipulate as follows:
    6                      WHEREAS, Plaintiffs filed a Second Amended Complaint (“SAC”) on
    7 August 27, 2013;
    8                      WHEREAS, Plaintiffs request to dismiss their individual claims for
    9 Failure to Indemnify (Third Cause of Action) and Unlawful Pay Instruments (Fifth
  10 Cause of Action) as alleged in the SAC with prejudice;
  11                       WHEREAS, Plaintiffs request to dismiss their putative class claims for
  12 Failure to Indemnify (Third Cause of Action) and Unlawful Pay Instruments (Fifth
  13 Cause of Action) as alleged in the SAC without prejudice;
  14                       WHEREAS, dismissal of the putative class claims without prejudice
  15 will not cause any prejudice to the putative class;
  16                       WHEREAS both parties agree to bear their own attorneys’ fees and
  17 costs as they related to Plaintiffs’ Third Cause of Action and Fifth Cause of Action;
  18                       THEREFORE, the parties, by and through their respective counsel,
  19 hereby stipulate and agree, and respectfully request that the Court so order:
  20                       Plaintiffs’ Third Cause of Action for Failure to Indemnify and Fifth
  21 Cause of Action for Unlawful Pay Instruments will be dismissed as to both
  22 individual and putative class claims, in their entirety. Any reference to the Third
  23 Cause of Action and Fifth Cause of Action shall be stricken from the SAC.
  24
  25
  26
  27
  28
                                                       -1-
        SMRH:475349240.1                                     STIPULATION TO DISMISS PLAINTIFFS’ THIRD
                                                                         AND FIFTH CAUSES OF ACTION
Case 5:10-cv-00809-VAP-OP Document 137 Filed 02/23/16 Page 3 of 3 Page ID #:2055




    1           IT IS SO STIPULATED.
    2
    3 Dated: February 23, 2016
    4                            SHEPPARD, MULLIN, RICHTER & HAMPTON LLP
    5
                                 By:                 /s/ Paul Cowie
    6                                                  Paul Cowie
    7                                  Attorney for SWIFT TRANSPORTATION
                                               CO. OF ARIZONA LLC
    8 Dated: February 23, 2016
    9
  10                             By:             /s/ Christina Humphrey
  11                                               Christina Humphrey
                                                  Attorney for Plaintiffs
  12
  13
  14
  15
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28
                                           -2-
        SMRH:475349240.1                          STIPULATION TO DISMISS PLAINTIFFS’ THIRD
                                                              AND FIFTH CAUSES OF ACTION
